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  16
                                    UNITED STATES DISTRICT COURT
  17                              SOUTHERN DISTRICT OF CALIFORNIA
  18   ViaSat, Inc.,                                              Case No.: 3:16-cv-00463-BEN-JMA
  19   a Delaware corporation,
                                                                  ACACIA COMMUNICATIONS,
  20                    Plaintiff                                 INC.’S REPLY IN SUPPORT OF ITS
  21                    and Counter Defendant,                    MOTION TO SEAL AND PARTIAL
                                                                  OPPOSITION TO VIASAT, INC.’S
  22   v.                                                         CROSS-MOTION TO SEAL
  23
       Acacia Communications, Inc.,                               Judge: Hon. Roger T. Benitez
  24   a Delaware corporation                                     Mag. Judge: Hon. Jan M. Adler
  25
                        Defendant
  26                    and Counter Claimant.
  27
  28

       Acacia Communication, Inc.’s Reply in Support of its Motion To Seal       Case No. 3:16-CV-00463-BEN-JMA
       and Partial Opposition to ViaSat, Inc.’s Cross-Motion To Seal
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       and Partial Opposition to ViaSat, Inc.’s Cross-Motion To Seal                                                                        i
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   1           The Court previously provided guidance (Dkt. No. 169) that certain papers
   2   lacked adequate justification or explanation for an under-seal filing. ViaSat Inc.’s
   3   (“ViaSat”) partial opposition and cross-motion to seal (Dkt. No. 179, “Opp.”)
   4   compounds that error, attempting to shift onto the Court the burden of sorting
   5   through thousands of pages of proposed redactions and objections to redactions.1
   6           Following the Court’s above-described guidance, Acacia filed its motion to seal
   7   specifically identifying the information that it seeks to have sealed, providing a
   8   declaration explaining why that information is confidential and competitively valuable,
   9   and attaching versions of the expert reports with Acacia’s proposed redactions. Dkt.
  10   No. 174. ViaSat, instead of providing similar identifications and justifications for any
  11   further redactions it seeks, filed over 2,200 pages with a combination of highlights and
  12   redactions, asserting merely that “the Court will see” what should or should not be
  13   redacted upon review of those 2,200 pages.
  14           ViaSat’s approach is inconsistent with the Court’s guidance. Acacia thus
  15   respectfully requests that the Court seal those documents and portions of the expert
  16   reports set forth in Acacia’s opening memorandum. As ViaSat has not met its burden
  17   to justify any additional redactions, its cross-motion should be denied.
  18   I.      PROCEDURAL BACKGROUND
  19           Shortly after the Court’s order partially denying the parties’ motions to file
  20   documents under seal (Dkt. No. 169), the parties began discussing whether they could
  21   agree on filing a further joint motion to seal. On June 20, 2018, Acacia indicated that
  22   it would send ViaSat a list of materials it would seek to seal. ViaSat said that it would
  23   “hold off” filing its request while the parties discussed a joint motion. On June 26,
  24   Acacia sent ViaSat a list of information Acacia would seek to seal.
  25
  26   1
        ViaSat originally filed its request in the form of an ex parte application to which it
       appended certain Acacia confidential information, thus making those materials
  27   available to the public contrary to the Protective Order. Acacia immediately alerted
       ViaSat of its error. After repeated reminders by Acacia and the clerk of the Court,
  28   ViaSat ultimately removed its ex parte application from the public docket.
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   1           ViaSat responded that it disagreed with a portion of Acacia’s suggested list, and
   2   so would file its own request. ViaSat filed an ex parte request to redact and seal its
   3   confidential information on June 27, 2018. Dkt. No. 173. ViaSat’s filing was on the
   4   public docket and contained Acacia highly confidential information that it knew Acacia
   5   sought to seal. Acacia immediately objected to this public disclosure of materials as
   6   contrary to the Protective Order (Dkt. No. 29). After initially refusing, ViaSat filed a
   7   notice withdrawing its ex parte application (Dkt. No. 176), but leaving Acacia’s
   8   confidential materials on the public docket. Acacia then had to contact ViaSat again
   9   before ViaSat ultimately moved to strike its ex parte application from the public docket.
  10   Dkt. No. 177.
  11   II.     PORTIONS OF THE PARTIES’ EXPERTS’ REPORTS
  12           Acacia attached to its motion six expert reports with information that Acacia
  13   regards as highly confidential redacted, describing in detail its basis to redact that
  14   information. Acacia lodged those versions of the reports under seal so that ViaSat
  15   would have the opportunity to identify whatever else it sought to redact and to provide
  16   a justification for the additional redactions as Acacia’s motion had done.
  17           Instead, ViaSat filed three copies of the reports (totaling over 2,200 pages), each
  18   with a combination of redactions and highlighting. ViaSat argues generically that its
  19   redactions are correct and Acacia’s redactions are not. As its basis, ViaSat asserts that
  20   “the Court will see.” Opp. at 6. Thus, it appears that ViaSat expects the Court to
  21   review all 2,200 pages and rule on each highlight individually. In contrast with the
  22   specific justifications Acacia provided in its motion, ViaSat’s “the Court will see”
  23   argument does not explain why any particular redaction that Acacia proposes is wrong
  24   or why ViaSat’s proposed redactions are any more justified. Accordingly, the Court
  25   should reject ViaSat’s opposition and cross-motion.
  26           Given the lack of argument against each redaction that Acacia proposes or in
  27   favor of each redaction that ViaSat proposes, there is no clear target at which Acacia
  28   can direct its response. ViaSat does not even make clear which of the highlighted

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   1   materials on Exs. H-K it is contesting, nor does it make clear the basis for requesting
   2   redaction of each of the highlighted materials in Exs. L-Q. To the extent that the
   3   Court is inclined to review all of the highlights, Acacia provides the following specific
   4   responses. If the Court disregards ViaSat’s vague arguments, then the Court may also
   5   disregard the rest of this section.
   6            A.   The Expert Report of Professor Krishna Narayanan
                     dated October 27, 2017 (“Narayanan Report”).
   7
                ViaSat’s Objections (i.e., highlights in Ex. I): ViaSat objects to redacting
   8
       portions of the Narayanan Report that disclose images of confidential deposition
   9
       testimony of Acacia employees (Ex. I at 916, 923-24, 936-402), of Acacia’s employees’
  10
       confidential emails (id. at 927, 935) and of Acacia’s internal technical documents (id. at
  11
       942, 944-47). As Acacia explained in its motion, Acacia has a compelling reason to
  12
       seal these technical documents, and indeed in many instances the Court has already
  13
       permitted sealed filing of the underlying documents. Dkt. No. 174 at 4-6.
  14
                ViaSat’s Proposed Redactions (i.e., highlights in Ex. L): ViaSat seeks to
  15
       redact more of the Narayanan Report than is justified. ViaSat seeks to redact in whole
  16
       Section 8.1 of the Narayanan Report, which includes a general discussion regarding
  17
       differential encoding. Ex. L at 1419-21. ViaSat also seeks to redact general
  18
       information regarding a way of implementing encoders for turbo product codes (id. at
  19
       Ex. L at 1428-29) and a way of implementing decoders for turbo product codes (id. at
  20
       Ex. L at 1431). ViaSat has not provided any basis to show that such general
  21
       information is unique to ViaSat, or discloses anything that would put ViaSat at a
  22
       competitive disadvantage. Therefore the Court should deny ViaSat’s motion at least as
  23
       to these redactions.
  24
                B.   The Expert Report of Dr. Alexander Vardy
  25                 dated November 21, 2017 (“Vardy Report”).
                ViaSat’s Objections (i.e., highlights in Ex. K): ViaSat objects to redacting
  26
  27
  28   2
           Citations to Exs. I-Q are to the page numbering that ViaSat added to those exhibits.
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   1   portions of the Vardy Report that expressly quote Acacia’s employee’s emails (Ex. K at
   2   1188-89) and confidential deposition testimony (id. at 1188), which disclose Acacia’s
   3   product development efforts and testing. In addition, ViaSat objects to Acacia’s
   4   request to seal portions of the Vardy Report which disclose Acacia’s proprietary design
   5   of the ASIC circuitry. Id. at 1213-14. As Acacia explained in its motion, Acacia has
   6   compelling reasons to seal these technical documents, and indeed in many instances
   7   the Court permitted sealed filing of the underlying documents. Dkt. No. 174 at 6-7.
   8           ViaSat’s Proposed Redactions (i.e. highlights in Ex. M): ViaSat seeks to
   9   redact more of the Vardy Report than is justified. ViaSat seeks to seal a general
  10   discussion regarding encoding and backward compatibility (Ex. M at 1602, 1618-19)
  11   and generic information about the value of decoding (id. at 1644-17). ViaSat has not
  12   provided any basis to show that such general information is unique to ViaSat, or
  13   discloses anything that would put ViaSat at a competitive disadvantage. Therefore,
  14   ViaSat’s motion should be denied as to these redactions.
  15           C.       The Expert Report of Stephen D. Prowse
                        dated October 27, 2017 (“Prowse Report”).
  16
               ViaSat’s Objections (i.e. highlights in Ex. J): ViaSat objects to redacting
  17
       portions of the Prowse Report that disclose Acacia’s non-public financial information
  18
       broken down on a product-by-product basis. Ex. J. at 1084-85, 1090, 1094, 1100-04,
  19
       1106, 1107-10, 1121-22, 1141-1144.3 In addition, ViaSat objects to the redaction of
  20
       certain portions of the Prowse Report that disclose Acacia’s confidential business
  21
       strategies and plans concerning product development in Acacia deposition testimony,
  22
       emails, and other documents, including correspondence with confidential third parties
  23
       designated “Third Party Highly Confidential” under the Protective Order. Id. at 1092-
  24
       1096, 1099-1100, 1101-1104, 1110-1117. As Acacia explained in its motion, Acacia
  25
       has a compelling reason to seal these technical documents, and indeed in many
  26
  27
       3
        To the extent that Acacia’s proposed redactions quote from public sources, in the
  28   Prowse Report or otherwise, Acacia agrees not to redact those quotes.
       Acacia Communication, Inc.’s Reply in Support of its Motion To Seal   Case No. 3:16-CV-00463-BEN-JMA
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   1   instances the Court permitted sealed filing of the underlying documents. Dkt. No. 174
   2   at 7-8.
   3             D.   The Rebuttal Report of Brent K. Bersin dated November 21, 2017
                      (“Bersin Report”).
   4
                 ViaSat’s Objections (i.e. highlights in Ex. H): ViaSat objects to redacting
   5
       portions of the Bersin Report that disclose Acacia’s non-public sales data, gross
   6
       revenue, and profit margins on a product-by-product basis. Ex. H at 835-839, 848,
   7
       852-853, 868-875. Similarly, ViaSat objects to redacting portions of the Bersin Report
   8
       that disclose confidential information regarding Acacia’s and ViaSat’s financial
   9
       negotiations (id. at 828) and Acacia’s confidential, non-public technical information
  10
       including the layout of Acacia’s ASIC integrated circuits (id. at 835-37, 849-50). As
  11
       Acacia explained in its motion, Acacia has compelling reasons to seal these technical
  12
       documents, and indeed in many instances the Court has already permitted sealed filing
  13
       of the underlying documents. Dkt. No. 174 at 8-9.
  14
                 E.    ViaSat’s Other Proposed Redactions.
  15             Acacia takes no position on the redactions that ViaSat proposes for the Prowse
  16   Report (i.e., highlights in Ex. N), the Bersin Report (i.e., highlights in Ex. O), the
  17   Opening Report of Dr. Marwan Hassoun, dated October 27, 2017 (i.e., highlights in
  18   Ex. P), and the Expert Report of Dr. Richard W. Koralek, dated November 21, 2017
  19   (i.e., the highlights in Ex. Q). ViaSat provided no objections to Acacia’s proposed
  20   redactions in the Hassoun and Koralek Reports.
  21   III.      OCTOBER 24, 2012 EMAIL FROM C. RASMUSSEN
  22             Both parties agree that the attachment to the email, the so-called “White Paper,”
  23   may be filed under seal. To be sure, Acacia disputes ViaSat’s claim that the document
  24   is confidential, given that the non-disclosure agreement protecting it expired long ago.
  25   Acacia raised that dispute in the proper place – namely, in its substantive summary
  26   judgment briefing about the parties’ contractual objections. A motion to seal is not
  27   the place for this merits dispute and Acacia therefore does not object to the document
  28   being filed under seal pending merits resolution.
       Acacia Communication, Inc.’s Reply in Support of its Motion To Seal   Case No. 3:16-CV-00463-BEN-JMA
       and Partial Opposition to ViaSat, Inc.’s Cross-Motion To Seal                                     5
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   1           That “White Paper” was attached to an internal Acacia business communication
   2   from Mr. Rasmussen. As Acacia explained in its motion, the dispute regarding the
   3   confidential status of this email exists only because ViaSat’s motion to seal was
   4   deficient concerning this document. Dkt. No. 174 at 3-4. The Court declined to
   5   authorize filing under seal where ViaSat’s motion contained no information about the
   6   email. Dkt. No. 101 at 8 (discussing Ex. 40); Dkt. No. 169 at 7 (denying Dkt. No. 101
   7   as to Ex. 40). But in a different context, when such information was properly
   8   provided, the Court ordered the very same email to be sealed. In that context, ViaSat
   9   properly explained that the email “contains discussion of Acacia’s business and
  10   technical information.” Dkt. No. 96 at 8 (discussing this email, which was Ex. 36 to
  11   that motion); see Dkt. No. 169 at 5 (granting Dkt. No. 96 as to Ex. 36). The issue
  12   having previously been resolved by the Court, there is no need to revisit the issue now.
  13   Indeed, had ViaSat simply included the same language it had previously used to
  14   describe the email, ViaSat could have avoided this dispute altogether.
  15           In any event, Acacia’s motion provides additional information as to why Acacia
  16   regards this document as confidential and meriting filing under seal. Specifically, Mr.
  17   Shah, Acacia’s Vice President of Engineering, who is familiar with the document,
  18   stated that the email was sent “in furtherance of Acacia’s evaluation of ViaSat as a co-
  19   development partner in the area of soft decision forward error correction,” the
  20   disclosure of which could inform Acacia’s competitors of Acacia’s “internal process
  21   for the evaluation of business partners.” Dkt. No. 174-1 ¶ 4. Thus, Acacia has
  22   articulated a compelling reason to file the document under seal. Kamakana v. City &
  23   Cnty. of Honolulu, 447 F .3d 1172, 1179 (9th Cir. 2006).4
  24           In any event, as noted above with regard to the “White Paper,” an opposition to
  25
  26
       4
         ViaSat’s insistence that the document has “no business or technical information
       whatsoever” and that Mr. Shah’s sworn declaration otherwise is false (Opp. at 4-5) is
  27   inconsistent with ViaSat’s own prior representation to this Court that the email
       “contains discussion of Acacia’s business and technical information.” Dkt. No. 96 at
  28   8.

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   1   a motion to seal is not the time or place for ViaSat to challenge the designation of a
   2   document under the Stipulated Protective Order.5 As with other such materials
   3   relating to disputed matters, this item should be kept under seal for now and the issue
   4   can be addressed definitively after resolution of disputed merits issues.
   5
   6
   7   Date: July 11, 2018                                    Respectfully Submitted,
   8                                                          WOLF, GREENFIELD & SACKS, P.C.
   9
                                                              By: s/Michael A. Albert
  10                                                          Michael A. Albert
  11                                                          Hunter D. Keeton
                                                              Stuart V. C. Duncan Smith
  12                                                          Attorneys for Defendant and Counter Claimant
  13                                                          Acacia Communications, Inc.
  14
  15
  16                                      CERTIFICATE OF SERVICE
  17           I certify that today I am causing to be served the foregoing document by
  18   CM/ECF notice of electronic filing upon the parties and counsel registered as
  19   CM/ECF Users. I further certify that I am causing the foregoing document to be
  20   served by electronic means via email upon counsel for ViaSat, Inc., to the extent they
  21   are not registered CM/ECF Users, per the agreement of counsel.
  22
  23
  24   Date: July 11, 2018                                  s/Michael A. Albert
                                                            Michael A. Albert
  25
  26   5
        Indeed, there is an agreed-upon dispute resolution process (see Dkt. No. 29 at 7-8),
  27   which ViaSat did not follow. This process requires a meet and confer and a separate
       motion from the party challenging the designation (with a declaration from the
  28   challenging party). Id.

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       and Partial Opposition to ViaSat, Inc.’s Cross-Motion To Seal                                          7
